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 1                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF PUERTO RICO
 2
 3
 4        UNITED STATES OF AMERICA,
 5
          Plaintiff
 6
          v.                                             CRIMINAL 08-0061 (ADC)
 7
 8        [1] LUIS PÉREZ-VILLAFAÑE,

 9        Defendant
10
11                 MAGISTRATE JUDGE'S REPORT AND RECOMMENDATION
               RE: RULE 11(c)(1)(A) AND (B) PROCEEDINGS (PLEA OF GUILTY)
12
13   I.        Personal Background
14             On February 27, 2008, Luis Pérez-Villafañe, the defendant herein, was
15   charged in a three-count indictment. Defendant agrees to plea guilty to count two
16   of the indictment.
17             Count two charges defendant and codefendant with aiding and abetting one
18   another, with knowingly and intentionally possess with intent to distribute five
19   kilograms or more of a mixture or substance containing a detectable amount of
20   cocaine, a Schedule II, Narcotic Drug Controlled Substance, on board a vessel of the
21   United States, named Jam Gelis, registered in the United States, Puerto Rico
22   Registry Number PR-2922. The District of Puerto Rico was the first point where the
23   defendants entered the United States after the commission of the offense. All in
24   violation of 46 U.S.C. §§ 70502(b), 70503(a)(1), 70504(b)(1) and 18 U.S.C. § 2.
25             The defendant filed a motion for change of plea on June 27, 2008. (Docket
26   No. 37.)
27
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     II.    Consent to Proceed Before a Magistrate Judge
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            On July 14, 2008, while assisted by Yasmín Irizarry, Esq., the defendant, by
 5
     consent, appeared before me in order to change his previous not guilty plea to a plea
 6
     of guilty as to count two of the indictment.
 7
            In open court the defendant was questioned as to the purpose of the hearing
 8
     being held. The defendant responded that the purpose of the hearing was to plead
 9
     guilty. The defendant was advised of his right to have all proceedings, including the
10
     change of plea hearing, before a United States district judge. Defendant was given
11
     notice of: (a) the nature and purpose of the hearing; (b) the fact that all inquiries
12
     were to be conducted under oath and that it was expected that his answers would
13
     be truthful (he was also explained that the consequences of lying under oath could
14
     lead to a perjury charge); and (c) his right to have the change of plea proceedings
15
     presided over by a district judge instead of a magistrate judge. The defendant was
16
     also explained the differences between the appointment and functions of the two.
17
     The defendant consent to proceed before this magistrate judge.
18
     III.   Proceedings Under Rule 11, Federal Rules of Criminal Procedure
19
            A. Compliance With Requirements Rule 11(c)(1)
20
                   Rule 11 of the Federal Rules of Criminal Procedure governs the
21          acceptance of guilty pleas to federal criminal violations. Pursuant to
            Rule 11, in order for a plea of guilty to constitute a valid waiver of the
22          defendant’s right to trial, guilty pleas must be knowing and voluntary:
            “Rule 11 was intended to ensure that a defendant who pleads guilty
23          does so with an ‘understanding of the nature of the charge and
            consequences of his plea.’” United States v. Cotal-Crespo, 47 F.3d 1, 4
24          (1st Cir. 1995) (quoting McCarthy v. United States, 394 U.S. 459, 467
            (1969)). [There are three core concerns in these proceedings]: 1)
25          absence of coercion; 2) understanding of the charges; and 3) knowledge
            of the consequences of the guilty plea. United States v. Cotal-Crespo, 47
26          F.3d at 4 (citing United States v. Allard, 926 F.2d 1237, 1244-45 (1st
            Cir. 1991)).
27
     United States v. Hernández-Wilson, 186 F.3d 1, 5 (1st Cir. 1999).
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              In response to further questioning, defendant was explained and he
 4
     understood that if convicted on count two, he may be sentenced to a term of
 5
     imprisonment of at least 10 years, but not more than life, a fine not to exceed
 6
     $4,000,000, and a term of supervised release of at least five years.
 7
              The defendant is not interested in complying with the Safety Valve provision
 8
     under U.S.S.G. § 5C1.2.
 9
              The defendant agrees to pay a special monetary assessment of $100, per
10
     count, as required by 18 U.S.C. § 3013(a).
11
              The defendant is aware that the court may order him to pay a fine sufficient
12
     to reimburse the government for the costs of any imprisonment, probation or
13
     supervised release. The court may also impose restitution. Should the court impose
14
     restitution, the defendant agrees to execute a financial statement to the United
15
     States. The United States will make no recommendations as to the imposition of
16
     fines.
17
              Defendant was advised that the ultimate sentence was a matter solely for the
18
     court to decide in its discretion and that, even if the maximum imprisonment term
19
     and fine were to be imposed upon him, he later could not withdraw his guilty plea
20
     if he was unhappy with the sentence of the court. The defendant understood this.
21
              Defendant was explained what the supervised release term means. It was
22
     emphasized that cooperation with the United States Probation officer would assist
23
     the court in reaching a fair sentence.
24
              Emphasis was made on the fact that at this stage, no prediction or promises
25
     as to the sentence to be imposed could be made by anyone. Defendant responded to
26
     questions in that no promises, threats, inducements or predictions as to what
27
     sentence will be imposed have been made to him.
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           B. Admonishment of Constitutional Rights
 4
           To assure defendant’s understanding and awareness of his rights, defendant
 5
     was advised of his right:
 6
           1.   To remain silent at trial and be presumed innocent, since it is the
 7
     government who has the burden of proving his guilt beyond a reasonable doubt.
 8
           2.   To testify or not to testify at trial, and that no comment could be made by
 9
     the prosecution in relation to his decision not to testify.
10
           3.   To a speedy trial before a district judge and a jury, at which he would be
11
     entitled to see and cross examine the government witnesses, present evidence on his
12
     behalf, and challenge the government’s evidence.
13
           4.   To have a unanimous verdict rendered by a jury of twelve persons which
14
     would have to be convinced of defendant’s guilt beyond a reasonable doubt by means
15
     of competent evidence.
16
           5.   To use the subpoena power of the court to compel the attendance of
17
     witnesses.
18
           Upon listening to the defendant’s responses, observing his demeanor and his
19
     speaking with his attorney, that to the best of counsel’s belief defendant had fully
20
     understood his rights, it is determined that defendant is aware of his constitutional
21
     rights.
22
           C. Consequences of Pleading Guilty
23
           Upon advising defendant of his constitutional rights, he was further advised
24
     of the consequences of pleading guilty. Specifically, defendant was advised that by
25
     pleading guilty and upon having his guilty plea accepted by the court, he will be
26
     giving up the above rights and would be convicted solely on his statement that he is
27
     guilty.
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           Furthermore, the defendant was admonished of the fact that by pleading guilty
 4
     he would not be allowed later on to withdraw his plea because he eventually might
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     disagree with the sentence imposed, and that when he were under supervised
 6
     release, and upon violating the conditions of such release, that privilege could be
 7
     revoked and he could be required to serve an additional term of imprisonment. He
 8
     was also explained that parole has been abolished.
 9
           D. Plea Agreement
10
           The parties have entered into a written plea agreement that, upon being signed
11
     by the government, defense attorney and defendant, was filed and made part of the
12
     record. Defendant was clearly warned and recognized having understood that:
13
           1.   The plea agreement is not binding upon the sentencing court.
14
           2.   The plea agreement is an “agreement” between the defendant, defense
15
     attorney and the attorney for the government which is presented as a
16
     recommendation to the court in regards to the applicable sentencing adjustments
17
     and guidelines, which are advisory.
18
           3.   The agreement provides a sentencing recommendation and/or anticipated
19
     sentencing guideline computation, that can be either accepted or rejected by the
20
     sentencing court.
21
           4.   In spite of the plea agreement and any sentencing recommendation
22
     contained therein, the sentencing court retains full discretion to reject such plea
23
     agreement and impose any sentence up to the possible maximum penalty prescribed
24
     by statute.
25
           5.   The defendant understands that if the court accepts this agreement and
26
     sentences defendant according to its terms and conditions, defendant waives and
27
     surrenders his right to appeal the conviction and sentence in this case.
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           Defendant acknowledged having understood this explanation.
 4
           E. Government's Evidence (Basis in Fact)
 5
           The government presented a proffer of its evidence with which the defendant
 6
     basically concurred.
 7
           Accordingly, it is determined that there is a basis in fact and evidence to
 8
     establish all elements of the offense charged.
 9
           F. Voluntariness
10
           The defendant accepted that no leniency had been promised, no threats had
11
     been made to induce him to plead guilty and that he did not feel pressured to plead
12
     guilty. He came to the hearing for the purpose of pleading guilty and listened
13
     attentively as the prosecutor outlined the facts which it would prove if the case had
14
     proceeded to trial.
15
     IV.   Conclusion
16
           The defendant, by consent, has appeared before me pursuant to Rule 11,
17
     Federal Rules of Criminal Procedure, and has entered a plea of guilty as to count two
18
     of the indictment.
19
           After cautioning and examining the defendant under oath and in open court,
20
     concerning each of the subject matters mentioned in Rule 11, as described in the
21
     preceding sections, I find that the defendant is competent to enter this guilty plea,
22
     is aware of the nature of the offense charged and the maximum statutory penalties
23
     that the same carries, understands that the charge is supported by the government’s
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     evidence, has admitted to every element of the offense charged, and has done so in
25
     an intelligent and voluntary manner with full knowledge of the consequences of his
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     guilty plea.
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           Therefore, I recommend that the court accept the guilty plea of the defendant
 4
     and that the defendant be adjudged guilty as to count two of the indictment. At
 5
     sentencing, the United States agrees to recommend the dismissal of the remaining
 6
     counts against the defendant.
 7
           This report and recommendation is filed pursuant to 28 U.S.C. § 636(b)(1)(B)
 8
     and Rule 72(d) of the Local Rules of Court. Any objections to the same must be
 9
     specific and must be filed with the Clerk of Court within five (5) days of its receipt.
10
     Rule 510.1, Local Rules of Court; Fed. R. Civ. P. 72(b). Failure to timely file specific
11
     objections to the report and recommendation is a waiver of the right to review by the
12
     district court. United States v. Valencia-Copete, 792 F.2d 4 (1st Cir. 1986).
13
           At San Juan, Puerto Rico, this 16th day of July, 2008.
14
15                                                S/ JUSTO ARENAS
                                         Chief United States Magistrate Judge
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